            Case 1:21-cv-09110-JPC Document 4 Filed 11/05/21 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
DENIS BYRNE, SR., as Administrator of the Estate of                    :
DENIS N. BYRNE, JR.,                                                   :
                                                                       :
                                    Plaintiff,                         :     21 Civ. 9110 (JPC)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
                                                                       :
JUUL LABS, INC. et al.,                                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been assigned to the undersigned for all purposes. The Court has reviewed

the Notice of Removal in this case, which was filed on November 3, 2021. See Dkt. 1. The parties

shall appear for a teleconference on November 22, 2021, at 12:00 p.m. The parties should be

prepared to address whether this Court has subject matter jurisdiction over the case. At the

scheduled time, counsel for all parties should call (866) 434-5269, access code 9176261. By

November 10, 2021, Defendants must serve a copy of this Order on Plaintiff.

        SO ORDERED.

Dated: November 5, 2021                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
